            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                        CRIMINAL CASE NO. 1:07cr32


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
DARIAN KENDELL ROBINSON. )
                          )


        THIS MATTER is before the Court on the Defendant’s “Motion for

Resentencing under Title 18 U.S.C. § 3582(c)(2) and Title 18 U.S.S.G. §

1B1.11(b)(2) Pursuant to Amendment 709.” [Doc. 198].

        On April 3, 2007, the Defendant was charged in a bill of indictment

along with five other co-defendants with engaging in a drug trafficking

conspiracy, in violation of 21 U.S.C. §§ 846 and 841(a)(1). [Doc. 1]. On

July 9, 2007, the Defendant pled guilty to this charge pursuant to a plea

agreement. [Doc. 80]. The Defendant was sentenced on June 25, 2008,

to 276 months of imprisonment. [Doc. 170]. The Defendant’s sentence

was affirmed by the Fourth Circuit Court of Appeals on July 6, 2009. [Doc.

194].




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      The Defendant now moves the Court pursuant to 18 U.S.C. §

3582(c)(2) to be resentenced due to “plain error.” Specifically, the

Defendant contends that the Court erred in counting the two sentences he

received in 1990 for felony drug offenses as separate sentences for the

purpose of calculating his criminal history. The Defendant argues that

application of Amendment 709 requires that these sentences be counted

as a single sentence. The Defendant’s argument is without merit. The

Defendant was sentenced under the 2007 version of the Sentencing

Guidelines, which incorporated the provisions of Amendment 709 on which

the Defendant relies. Under the 2007 version of the Guidelines, prior

sentences are to be counted separately if the sentences were imposed for

offenses that were separated by an intervening arrest. See U.S.S.G. §

4A1.2(a)(2) (2007). The offenses for which these two sentences were

imposed were separated by an intervening arrest and were therefore

properly counted as separate sentences for the purpose of calculating the

Defendant’s criminal history.

      For the foregoing reasons, IT IS, THEREFORE, ORDERED that the

Defendant’s “Motion for Resentencing under Title 18 U.S.C. § 3582(c)(2)




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and Title 18 U.S.S.G. § 1B1.11(b)(2) Pursuant to Amendment 709” [Doc.

198] is DENIED.

     IT IS SO ORDERED.

                                    Signed: April 13, 2010




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